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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: ____________________________

  ILAN ALHADEFF and LORI ALHADEFF,
  as Co-Personal Representatives of the
  Estate of ALYSSA ALHADEFF,

                 Plaintiffs,
  v.

  UNITED STATES OF AMERICA,

              Defendant.
  ____________________________________/


                                           COMPLAINT

         Plaintiffs, ILAN ALHADEFF and LORI ALHADEFF, as Co-Personal Representatives of

  the Estate of ALYSSA ALHADEFF, bring this action against Defendant United States of America

  and allege:

                                     NATURE OF THE ACTION

         1.      “I know he’s going to explode,” a woman who knew Nikolas Cruz said on the FBI’s

  tip line on January 5, 2018. Through the proper channels for citizens to convey information to the

  FBI, she provided a detailed and specific tip that Cruz “was going to slip into a school and start

  shooting the place up.” He wanted to kill people, and he had the means to do so—he had spent the

  last several months collecting rifles and ammunition. Forty days later, Mr. Cruz did just what

  tipster warned the FBI he would do. He entered his former high school—Marjory Stoneman

  Douglas High School in Parkland, Florida—and executed 17 people.

         2.      Plaintiffs in this action are ILAN ALHADEFF and LORI ALHADEFF, whose

  daughter, ALYSSA ALHADEFF, was a 14-year-old high school freshman on the afternoon of




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  February 14, 2018, when Cruz executed her in Room 1216 of Marjory Stoneman Douglas High

  School.

         3.      On or before February 14, 2014, the FBI knew that Nikolas Cruz had the desire and

  capability to carry out a mass school shooting.

         4.      The FBI had non-discretionary obligations, governed by established protocols, to

  handle and investigate tips concerning potential school shootings in a reasonable manner—at

  minimum not ignore the information entirely—and to act against Cruz to prevent him from

  committing the mass shooting that took the life of ALYSSA ALHADEFF. Yet, contrary to its own

  established rules, the FBI failed to take any action whatsoever with the information it received. If

  the FBI had complied with its mandatory obligations to investigate and intervene in Cruz’s plans

  to carry out a mass shooting at Stoneman Douglas High School, Cruz would not have succeeded

  in carrying out his attack and ALYSSA ALHADEFF would not have been killed.

         5.      As a direct, proximate, and foreseeable result of the FBI’s negligence, Cruz was

  able to kill 17 students and teachers and wound many more.

         6.      ILAN ALHADEFF and LORI ALHADEFF, as co-personal representatives of the

  estate of ALYSSA ALHADEFF, bring this lawsuit under the Federal Tort Claims Act, 28 U.S.C.

  §§ 1346 and 2671-80, and Florida’s Wrongful Death State, Fla. Stat. § 768.21. They seek all

  wrongful death damages for their losses, including lost support and services, lost society, mental

  pain and suffering, loss of earnings, medical and funeral expenses, and any other damages

  recoverable under the applicable law.

                                  JURISDICTION AND VENUE

         7.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.




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         8.      Venue is properly in the Southern District of Florida pursuant to 28 U.S.C.

  §1391(b) because Plaintiffs’ claims arose in Broward County, Florida, which is located in the

  Southern District of Florida.

         9.      Plaintiffs have complied with and exhausted all applicable pre-suit notice

  requirements of the Federal Tort Claims Act. More than six months before the filing of this

  complaint, the FBI received the Plaintiffs’ Notice of Claim. The FBI did not issue a formal denial

  of the Plaintiffs’ claim within six months, and thus the claim was deemed denied.

                                          THE PARTIES

         10.     Plaintiffs, ILAN ALHADEFF and LORI ALHADEFF, are residents of Parkland,

  Florida.

         11.     The Alhadeffs are appointed co-personal representatives of the Estate of ALYSSA

  ALHADEFF, their 14-year old daughter who was killed at Marjory Stoneman Douglas High

  School.

         12.     The United States of America is a defendant in this action pursuant to the Federal

  Tort Claims Act, 28 U.S.C. §§ 1346 and 2671-80, et seq., arising from the acts and/or omissions

  of employees and agents of the Federal Bureau of Investigation, an agency of the defendant.

         13.     The Federal Bureau of Investigation is a federal law enforcement agency statutorily

  empowered by the United States Congress to enforce and investigate certain alleged violations of

  the United States Criminal Code. The FBI is part of the Department of Justice and formally subject

  to oversight and direction by the Attorney General.

                                              FACTS

  I.     The Red Flags

         14.     Before the Parkland shooting, law enforcement, including the FBI, received several

  warnings about Nikolas Cruz’s desire and capability to carry out a school shooting.


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         A.      Long before the shooting, local law enforcement was aware of Cruz’s
                 propensity for violence and stated intention to commit a school shooting.

         15.     In January 2013, Nikolas Cruz’s mother, Lynda Cruz, called the Broward County

  Sheriff’s Office after Nikolas threw her against a wall. She advised the Broward County sheriff

  that Nikolas has anger issues and ADHD.

         16.     In February 2016, the Broward County sheriff received a report from an unnamed

  neighbor who said Cruz was posting photos of himself with guns on Instagram and saying he

  planned to shoot up his high school. At the time, Cruz was a student at Marjory Stoneman Douglas

  High School. The sheriff’s office forwarded the information to the school resource officer.

         17.     In September 2016, a school resource officer at Stoneman Douglas reported to the

  sheriff’s office that Cruz had ingested gasoline in an effort to commit suicide and was cutting

  himself. It was also reported that Cruz stated he wanted to buy a gun and that he possessed hate-

  related symbols. A sheriff’s deputy responded to Cruz’s home on allegations that Cruz was hurting

  himself and talking about buying a gun.

         18.     In September 2016, the Florida Department of Children and Families opened a case

  on Cruz, calling him “a vulnerable adult due to mental illness.” The report noted that Cruz said he

  planned to buy a gun, but “it is unknown what he is buying the gun for.”

         19.     In January 2017, Cruz was reported for an assault at Stoneman Douglas and referred

  for a threat assessment, according to the school’s discipline records.

         20.     In February 2017, Cruz bought the AR-15 he used in the shooting from Sunrise

  Tactical Supply in Coral Springs, Florida. Upon information and belief, Cruz purchased at least

  five weapons in the year before the shooting, all rifles and shotguns.

         21.     In November 2017, a cousin of Lynda Cruz called the Broward County Sheriff’s

  Office to report that Cruz possessed “rifles” and requested that BSO recover the weapons.



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         22.       The same month, Roxanne Deschamps called law enforcement to report that Cruz

  had buried a 9mm gun in the backyard. Deschamps said, “I’m positive he hid a weapon.”

         23.       A few weeks later, a family friend, Roxanne Deschamps, called authorities to report

  a fight between Cruz and her son. She said Cruz became violent, punching walls, and left to get a

  gun. On the call, Deschamps told the police dispatcher that Cruz had bought “tons of ammo,” he

  had used a gun against people before, and he had put a gun to others heads in the past.

         24.       On November 30, 2017, the Broward County Sheriff’s Office received a tip from a

  caller in Massachusetts who said that Cruz was collecting guns and knives. The caller said she was

  concerned that Cruz would kill himself one day, and she believed Cruz could be a school shooter

  in the making.

         B.        For more than two years before the shooting, Cruz had been posting
                   disturbing and threatening content on social media.

         25.       By at least December 2015, Cruz was using social media to post pictures of himself

  holding weapons, including guns and knives:




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         26.    Cruz also used social media to post advertisements for weapons he wanted to buy.

  In one instance, Cruz posted an advertisement for the Maverick 88 Slug on Instagram. In the post,

  Cruz asked his Instagram followers for advice about gun costs and passing background checks:




         27.    Throughout the rest of 2017, Cruz continued to post photos displaying his growing

  collection of weapons and ammunition, including the AR-15 that Cruz eventually used in the

  shooting.


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         28.       Cruz also posted a photo on his Instagram account of a disemboweled frog

  surrounded by blood, saying he had killed it:




         29.       In the months preceding the Parkland shooting, Cruz made several threatening

  comments under videos on YouTube and other sites. They include:

                  “I whana shoot people with my AR-15”

                  “I wanna die Fighting killing s**t ton of people”


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                  “I am going to kill law enforcement one day they go after the good people.”

         C.        Five months before the shooting, the FBI learned that Cruz had professed his
                   intention to become a school shooter.

         30.       On September 24, 2017, a Mississippi bail bondsman named Ben Bennight

  received a comment on his YouTube channel from Nikolas Cruz. In the post, Cruz said he was

  “going to be a professional school shooter”:




         31.       Nikolas Cruz made no attempt to conceal his identity. He used his first and last

  name, rather than a unique username, in the post.

         32.       Bennight immediately reported Cruz’s threatening comment to the FBI. The next

  day, two FBI agents interviewed Bennight about the comment.

         33.       The FBI closed its file on this matter in October 2017.

         D.        One month before the shooting, the FBI received another tip warning that
                   Cruz would commit a school shooting.

         34.       On January 5, 2018, a person close to Cruz contacted the FBI’s Public Access Line

  (PAL) tipline to report her concerns about Cruz’s behavior.

         35.       The caller warned that Cruz was 18 years old but had “the mental capacity of a 12

  to a 14-year-old.” She explained that Cruz’s mother had just recently died, and Cruz had been

  exhibited violent and suicidal behavior since his mother’s death.

         36.       The caller explained that, since his mother’s death, Cruz “started off saying he

  wanted to kill himself.” In response, the caller called the Parkland Police Department and spoke




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   to an officer there about Cruz’s behavior. Then, the caller explained, “just recently,” Cruz

   “switched it to he wants to kill people.” In other words, Cruz had professed a desire to kill other

   people. The caller explained that Cruz had said he wanted to kill people publicly, in a post on his

   Instagram, but about two days later, he took the post down:1




              37.      The caller also said that Cruz was “so into ISIS” and that she was “afraid . . .

   something’s gonna happen.”




              38.      The caller told the FBI that she was even more concerned about Cruz’s propensity

   for violence because he had been acquiring guns, including rifles, since his mother’s death. Before

   his mother died, Cruz had “pulled a rifle on his mother.” Then, after his mother’s death, Cruz took

   money out of his mother’s account and “brought all these rifles and ammunition and he posted

   pictures of them on the Instagram.”




   1
       The quoted language is from the transcript of the tipster’s call to the FBI on January 5, 2018.


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          39.     The caller explained that she and another cousin of Cruz’s had grown very

   concerned about Cruz, and she wanted the FBI to know so that they could look into it. She

   expressly stated that Cruz might “take[] off and . . . start shooting places up.”




          40.     The caller also warned the FBI about Cruz’s social media accounts, which

   contained Cruz’s credible statements and other evidence of his desire or planning to kill people,

   and photos of Cruz’s weapons including “all kinds of rifles.” The caller urged the FBI to go onto

   Cruz’s Instagram page, where Cruz had posted about his desire to kill people.




          41.     The caller gave the FBI specific details about Cruz’s Instagram accounts, spelling

   out, letter-by-letter, the handles Cruz used on Instagram so that the FBI could verify the

   information for itself.




          42.     The caller described in detail various posts on Cruz’s Instagram account that

   displayed his weapons, including guns, knives, and ammunition. The caller said the Instagram

   page contained a photo of “a whole bag with all kinds of rifles” and “scopes.” She explained that

   Cruz was expecting to receive thousands of dollars from his mother’s estate, and he would use that

   money to buy more guns.




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          43.     The caller also explained that Cruz’s Instagram accounts contained photos of

   animals Cruz had mutilated and killed, and she provided the FBI with additional details about

   Cruz’s mutilation of animals. She told the FBI that Cruz’s interest in killing animals, cutting them

   up, and posting photos of them was “a red flag.”




          44.     In addition, the caller said that Cruz had expressed an affinity for ISIS, even

   dressing up as a member of ISIS and posting messages in Arabic that appeared to threaten that he

   would do something.




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           45.     Over and over again, the caller stressed the danger of Cruz’s access to guns

   combined with his erratic behavior and propensity to act violently. The caller said with certainty

   that she knew Cruz was “going to explode.”




           46.     The caller was specific about the way she expected Cruz to explode—he was going

   to shoot up a school.

           47.     The caller said she felt compelled to call because “it’s alarming to see these pictures

   and to know what [Cruz is] capable of doing and-and what could happen.” She explained that he

   had exhibited violent and erratic behavior in the past, including picking up a chair and throwing it

   at someone—a student or a teacher at Marjory Stoneman Douglas High School—because he didn’t

   like the way they were talking to him. The caller explained that Cruz had been kicked out of school

   for his violent behavior, and she specifically said Cruz was going to get into a school and shoot

   the place up.




           48.     The caller gave the FBI representative the name and phone number of the

   individuals who Cruz was living with, and she provided the address of the home where Cruz was

   living at the time.

           49.     She ended the call by telling the FBI that she needed to report the information to

   the FBI so that it could investigate because, she said, “I do believe something’s going to happen.”




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          50.     The FBI did not take appropriate investigative steps in response to the call. The

   Bureau did not forward the information to the local FBI Field Office in Miami, Florida where

   additional investigative steps would have been taken; the FBI did not pass the information along

   to local law enforcement in Parkland, Florida; and the FBI did not pass the information along to

   Cruz’s likely target—Marjory Stoneman Douglas High School—so that the school could take

   appropriate measures to prevent the massacre. These failures violated the FBI’s own established

   protocols and mandatory operating procedures.

          E.      The FBI took on the responsibility of investigating and preventing mass
                  shootings.

          51.     The FBI instructs the public to report information about potential mass shootings.

          52.     For example, on the “Contact Us” page of the FBI’s website, the FBI instructs

   concerned citizens to “submit a tip” to report suspected terrorism or criminal activity. The website

   tells the public “If you see something, say something.”

          53.     The FBI’s website explains that it is the go-to entity for concerned citizens to report

   a potential mass shooting. The website states that “[t]he FBI concentrates on crime problems that

   pose major threats in American society. Significant violent crime incidents such as mass killings,

   sniper murders, and serial killings can paralyze entire communities and stretch state and local law

   enforcement resources to their limits.”

          54.     In addition, the FBI takes on the responsibility of investigating and preventing acts

   of terrorism—i.e., terrorist acts perpetrated by individuals inspired by or associated with foreign

   terrorist organizations and nations or U.S.-based movements that espouse extremist ideologies of



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   a political, religious, social, racial, or environmental nature. According to the FBI’s website,

   “[p]rotecting the United States from terrorist attacks is the FBI’s number one priority.” The FBI

   focuses, in part, on homegrown violent extremists—those sympathizers who have been inspired

   by global jihad, who are based in the U.S., have been radicalized primarily in the U.S., and are not

   directly collaborating with a foreign terrorist organization. Before the Parkland shooting, the FBI

   received information that Cruz sympathized with ISIS—the foreign terrorist organization. The FBI

   also knew Cruz had been posting messages in Arabic and had been dressing as a member of ISIS

   in public social media posts.

          55.     In this case, the FBI’s tip intake specialist assured the tipster that the FBI, and not

   some other governmental body, was the proper forum for reporting school shooting threats. On the

   call, the tipster expressed some ambivalence about whether she was calling the correct

   governmental agency, saying, for example, that she “didn’t know whether to call you or Homeland

   Security or who,” and the FBI intake specialist responded by assuring the caller that the FBI

   appreciated that the tipster had chosen to call. The FBI intake specialist did not direct the caller to

   report her observations and concerns to anyone else. Either implicitly or explicitly, the FBI assured

   the tipster that she had reported her information to the right place.

          56.     The tipster relied on the FBI to investigate the matter and decide the best course of

   action. The tipster expected the FBI would look into the issue further, explaining “I just want

   someone to know about this so they can look into it” and “when you look into this, you can make

   the decision as to whether you want to go further or not.” On several occasions, the tipster also

   explained that by coming to the FBI, she was giving over the responsibility of handling the

   information to the FBI. She said, “If they think it’s something worth going into, fine. If not, um, I

   just know I have a clear conscience if he takes off and, and just starts shooting places up.” She also




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   said she was getting the information “off [her] chest in case something does happen and I do

   believe something’s going to happen”

          57.     Either expressly or implicitly, the FBI’s responses to the tipster had the effect of

   assuring the her that the FBI would take action—at the very least, look into the threat and

   potentially follow-up with her. The FBI intake specialist asked the caller “So if anybody else has

   questions they can call you back. Is that correct, ma’am?” The caller replied “Yes, you can, hun.”

   The FBI intake specialist also sought specific details on Cruz’s whereabouts, including his current

   address and phone number.

          F.      By at least January 2018, the FBI knew or should have known Nikolas Cruz
                  would carry out a mass shooting at Marjory Stoneman Douglas High School.

          58.     The FBI had received a substantial amount of information with which to

   characterize Nikolas Cruz as a potential threat to life before the shooting at Marjory Stoneman

   Douglas High School.

          59.     According to the FBI’s own written guidance, Cruz was clearly a potential threat

   to life, and the FBI’s mandatory operating procedures required the FBI to investigate and

   intervene.

          60.     The FBI’s own published manuals shed light on Cruz’s potential risk. For example,

   in 2015, the FBI’s Behavioral Analysis Unit studied ways to reduce mass shootings and other

   forms of targeted violence. It published the results of the study in a guidebook called “Making

   Prevention a Reality: Identifying, Assessing, and Managing the Threat of Targeted Attacks.”

          61.     The FBI’s guidebook for preventing targeted attacks explains that “bystanders are

   a key component for prevention of targeted violence events.” It defines a bystander as “anyone

   positioned to have awareness of risk factors or to observe warning behaviors related to a person

   who may be considering acting violently,” including “a friend on social media, a classmate, a co-



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   worker, a neighbor, a family member, or a casual observer.” A bystander “can potentially intervene

   by various means, but most importantly by simply conveying what he knows, observes, or fears

   may happen.” The FBI counsels that bystanders are “an absolutely critical component of

   prevention.” In key research studies reviewed by the FBI, researchers found that “in 81% of school

   shooting cases they reviewed, the offender told at least one person about the attack beforehand”

   and in “59% of cases at least two other individuals had some information about the event before it

   was carried out.” When bystanders report what they know to authorities, they “create opportunities

   for intervention and ultimately prevention.”

          62.     The FBI’s guidebook explains that persons of concern are often identified when

   they make a threat—i.e., an expression of intention to inflict injury or damage. It explains that

   threats “must all be taken seriously and thoroughly evaluated.”

          63.     The FBI’s guidebook also lists several “warning behaviors” that evidence an

   increasing and accelerating risk that someone will carry out a targeted attack. The FBI notes that

   “[w]hen warning behaviors are evidenced, they require a threat management strategy and

   operational response. They are, for the most part, proximal behaviors, occurring more closely in

   time to a potential act of targeted violence.”

          64.     The FBI defines a “pathway to violence warning behavior” as any behavior that is

   part of research, planning, preparation, or implementation of an attack. Examples of pathway

   warning behaviors include “obtaining weapons and gear as well as familiarization with the

   weapons.”

          65.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated

   “pathway to violence” warning behaviors, including a preoccupation with acquiring weapons and

   ammunition to carry out a violent attack.




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          66.     The FBI defines a “fixation warning behavior” as “an increasing preoccupation

   with a person or a cause.”

          67.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated

   fixation warning behaviors, including by telling the FBI that Cruz is “so into ISIS” and had posted

   messages in Arabic on social media that appeared to be related to the terrorist organization.

          68.     The FBI defines an “identification warning behavior” as one that becomes evident

   when a person adopts a “pseudo-commando” identity. “A preoccupation with firearms and a desire

   to use them for revenge may be evident. . . . The practical aspect of identification warning behavior

   may feature an unusual fascination with weapons or other military or law enforcement

   paraphernalia. This can be demonstrated through actual weapons, ammunition or paraphernalia

   purchases, or through virtual activities such as intense preoccupation with and practice on first-

   person shooter games, or in-depth on-line research of weapons. A psychological aspect of

   identification may involve physical costuming, immersion in aggressive or violent materials, or

   fantasizing about offending violently.”

          69.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated

   identification warning behaviors. On the call, the tipster noted that Cruz had an unusual fascination

   with guns and weapons, posting many photos on Instagram of guns he had purchased. He had also

   posted “pictures of himself dressed up” as a member of ISIS and in military garb.

          70.     The FBI defines “novel aggression warning behavior” as an act of violence in which

   the person is “testing” his ability to actually engage in a violent act, or experimental aggression.

   “Examples of acts of novel aggression could include animal cruelty, assault, firearm discharge,

   arson or bombing, rehearsed violence with inanimate objects fantasized to be human targets, or

   even vandalism.”




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          71.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated novel

   aggression warning behaviors including committing concerning acts of animal cruelty, assaulting

   his mother and school peers, and pulling a rifle on his mother in order to get money to buy more

   weapons.

          72.     The FBI defines “leakage” as “a communication to a third party of intent to do

   harm to a target through an attack.” The FBI advises that “[w]hen leakage in any form is

   discovered, it should be recognized as such and not dismissed as fantasy writing or mere venting .

   . . A full consideration of all facts and circumstances will help threat managers discern the

   difference.”

          73.     In the months preceding the school shooting, two tipsters warned the FBI that

   Nikolas Cruz had “leaked” his intent to kill other people and to become a “professional school

   shooter.”

          74.     The FBI guidebook also describes the numerous methods of intervention well short

   of arrest to deal with a person of concern once a threat of a targeted attack is identified. These

   management options include third-party monitoring, third-party intervention, direct interview,

   administrative actions, civil actions, criminal enforcement, setting specific boundaries and limits,

   100% enforcement, mental health commitments, alternatives to violence counseling, outpatient

   mental health care, stress and anger management classes, and other types of services.

          75.     In addition, “[w]hen a concern for violence rises above low,” the FBI guidebook

   instructs threat management teams to do increased vigilance and target hardening. In other words,

   the FBI suggests increasing security measures at the threat’s likely target. “Examples of increased

   vigilance may include increased awareness by personnel in and around the environment in

   question, training on and adherence to security procedures, identification verifications,




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   information sharing, and law enforcement alerts. . . . Target hardening can involve a thorough

   security process review, reduction of access points to the facility, more visible security, parking

   lot security and escorts, flagging the address in the ‘911’ system, and other measures deemed

   appropriate.”

           76.     The FBI defines a “low” level of concern scenario as one where, for example, the

   person of concern “may have evidenced few to no warning behaviors, he may “not have a

   significant number of risk factors,” or “circumstances may make it nearly impossible for the

   subject to carry out his threat (e.g., the person of concern is incarcerated, does not have a proxy

   willing to act violently on his behalf, and the target it outside the institution).”

           77.     The FBI defines a “moderate” level of concern scenario as one where, for example,

   “others may be concerned about the person potentially acting out violently,” the person “may have

   an increased number of risk factors (e.g., acting out violently, a paranoid personality disorder,

   substance abuse, or instability in employment and relationships),” and stressors may be present in

   the person’s life that could move the person further toward violence. In this scenario, the FBI

   advises that “monitoring and additional actions are necessary or desirable to further evaluate and

   respond to the situation to a point of resolution.”

           78.     The FBI defines an “elevated” level of concern scenario as one where, for example,

   a person of concern is making preparations such as “weapons acquisition and training that are both

   contextually inappropriate and an escalation from his norm,” or “increasing warning behaviors

   may become more evident,” or “stressors in a person’s life appear to be escalating and his abilities

   to cope with them appear diminished,” or “suicidal/homicidal ideation” is present. In this scenario,

   the FBI explains that “the person of concern is reaching a critical point on a pathway to violence.”

   To deal with the threat, “a threat management team and additional resources should focus on




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   reducing his susceptibility to violence and the target’s vulnerability, through guidance and

   enhanced security efforts.”

          79.     The FBI defines a “high” level of concern scenario as one where, for example, a

   person of concern “has exhibited highly concerning warning behaviors,” the person “has the means

   and ability to carry out a violent attack,” or the person exhibits a combination of serious mental

   illness, substance abuse or dependence, a history of violence or other risk factors. According to

   the FBI, “violence is possible and could occur within the near future following any precipitating

   events. Immediate and continuing attention is required from threat management resources to

   ensure violence does not occur.”

          80.     The information communicated to the FBI on the January 5 call alerted the FBI that

   Cruz was exhibiting an elevated or high level of risk. The FBI was told about Cruz’s young age

   and low mental skills, his mother’s recent death, his communicating suicidal and homicidal

   ideation, his sympathizing with ISIS, his violent history, and his preoccupation with acquiring

   rifles, among other things. These, along with Cruz’s other warning behaviors and risk factors,

   should have alerted the FBI that Cruz was capable of committing violence in the near future.

          81.     In June 2018, the FBI published “A Study of the Pre-Attack Behaviors of Active

   Shooters in the United States between 2000 and 2013.” The study explains that “[i]n the weeks

   and months before an attack, many active shooters engage in behaviors that may signal impending

   violence. While some of these behaviors are intentionally concealed, others are observable and—

   if recognized and reported—may lead to a disruption prior to an attack.”

          82.     The FBI explained that active shooters tend to be “individuals who fail to

   successfully navigate multiple stressors in their lives while concurrently displaying four to five

   observable, concerning behaviors, engaging in planning and preparation, and frequently




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   communicating threats or leaking indications of an intent to attack. As an active shooter progresses

   on a trajectory toward violence, these observable behaviors may represent critical opportunities

   for detection and disruption.”

          83.     Prior to the attack, the FBI was aware that Nikolas Cruz had displayed many of the

   observable concerning behaviors that precipitate a mass shooting. The FBI study explains that

   shooters typically undergo multiple stressors in the year before an attack, which could include the

   death of a relative, mental health problems, school-related problems, and conflicts with parents.

   The FBI also provides a list of concerning behaviors that are typically observed in active shooters

   before an attack. The list includes observed instances of inappropriate anger, inappropriate

   firearms behavior, more than the usual amount of discord in ongoing relationships with family,

   communication to a third-party of the intent to harm another person, indications of mental health

   issues, physical aggression, and violent media usage.

          84.     The tipster warned the FBI that Cruz had experienced multiple triggering stressors

   and displayed observable concerning behavior in the months before the shooting. The tipster told

   the FBI that Cruz’s mother had died, he had expressed a desire to kill himself and others, he had

   been kicked out of school for engaging in violently aggressive behavior directed toward his peers,

   and he had pulled a rifle on his own mother before her death. Cruz delighted in torturing and

   mutilating animals, and he posted gruesome pictures on social media. He had communicated his

   violent inclinations publicly using social media.

          85.     The FBI was also aware, or reasonable should have foreseen, that Marjory

   Stoneman Douglas High School was Nikolas Cruz’s likely target. Cruz was 19 years old at the

   time of the shooting, and he had previously attended Marjory Stoneman Douglas High School. On

   the January 5 call, the tipster warned the FBI that Cruz would shoot up a school. Months earlier,




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   in October 2017, Cruz had expressed his desire to become a school shooter in a YouTube comment

   reported to the FBI.

          86.     The FBI was also aware, or with reasonable diligence should have discovered, that

   Cruz had a history of acting violently at Marjory Stoneman Douglas High School. The tipster told

   the FBI that Cruz had thrown a chair at a student or teacher at his high school, and he had been

   kicked out of that school. Cruz’s history of violence at the school was well-documented and would

   have been easily discovered during a reasonable investigation into Cruz.

          87.     In addition, the FBI knows that active shooters in Cruz’s age group are very likely

   to choose their former school as a target. In the FBI’s study on pre-attack behaviors, the FBI

   explained that “active shooters often attacked people and places with which they were already

   familiar. There was a known connection between the active shooters and the attack site in the

   majority of cases (73%, n = 46), often a workplace or former workplace for those 18 and older

   (35%, n = 19), and almost always a school or former school for those younger than 18 (88%, n =

   7).”

   II.    The Shooting

          88.     On the afternoon of February 14, 2018, Marjory Stoneman Douglas students were

   anticipating the dismissal bell when, instead, they heard the sound of gunfire.

          89.     At 2:21 p.m. Nikolas Cruz entered Building 12 of the school after an Uber dropped

   him off at the school’s entrance.

          90.     Cruz walked into the halls of the first floor of the school and activated the fire alarm

   in order to draw unsuspecting students and faculty members from their classrooms.

          91.      He removed his .223-caliber AR-15-style rifle from a soft black case he was

   carrying and began to shoot into different classrooms on the first and third floors.




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           92.     Within a matter of minutes, Cruz killed ALYSSA ALHADEFF and sixteen other

   people and injured seventeen other people.

           93.     Then, Cruz walked out of the Stoneman Douglas campus with the crowd of

   students, proceeded to a Walmart store to buy a drink, and then on to a nearby McDonald’s. He

   then continued to roam freely until he was detained more than one hour after the shooting began

   in a Coral Springs neighborhood while walking down the street.

   III.    The FBI’s Admissions

           A.      The FBI’s Call to ILAN ALHADEFF and LORI ALHADEFF.

           94.     After the shooting, an FBI agent called Dr. Ilan Alhadeff and Lori Alhadeff.

           95.     During the call, the FBI agent told Dr. and Mrs. Alhadeff that the FBI was at fault

   for failing to prevent the tragedy that took their daughter’s life. The FBI agent said the FBI’s tragic

   mistakes were about to become public, and he wanted to make sure Dr. and Mrs. Alhadeff heard

   it from the FBI first.

           96.     The FBI representative told the Alhadeffs that, before the shooting, the FBI had

   received information about the killer that should have been acted upon and was not. The FBI agent

   also admitted that, had the Bureau acted upon the information it had received, the FBI would have

   been able to prevent Cruz from carrying out the shooting.

           B.      The FBI Statement on the Parkland Shooting.

           97.     On February 16, 2018, the FBI issued a statement admitting it had violated

   established protocols in responding to information it received about Cruz prior to the shooting.

           98.     In the statement, the FBI stated that “[o]n January 5, 2018, a person close to Nikolas

   Cruz contacted the FBI’s Public Access Line (PAL) tip-line to report concerns about him. The

   caller provided information about Cruz’s gun ownership, desire to kill people, erratic behavior,

   and disturbing social media posts, as well as the potential of him conducting a school shooting.”


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          99.     The FBI admitted that “under established protocols, the information provided by

   the caller should have been assessed as a potential threat to life. The information then should have

   been forwarded to the FBI Miami Field Office, where appropriate investigative steps would have

   been taken.”

          100.    The statement makes clear that the FBI was under a non-discretionary duty to assess

   the information about Nikolas Cruz as a “potential threat to life.” This assessment would trigger a

   non-discretionary duty to forward information to the FBI Miami Field Office. And, at that point,

   the FBI Miami Field Office would have had a non-discretionary duty to take appropriate

   investigative steps.

          101.    FBI officials did not have discretion to do nothing. Established protocols required

   the FBI to act in specific ways in response to the information it received about Nikolas Cruz: assess

   the information as a potential threat to life and forward it to the FBI Miami Field Office.

          102.    Further, FBI Miami Field Office personnel did not have discretion to do nothing.

   The FBI’s statement explains that if the information had been forwarded to the FBI Miami Field

   Office, “appropriate investigative steps would have been taken.” The statement leaves no room

   for discretion on the part of the FBI Miami Field Office in deciding whether to take appropriate

   investigative steps. An investigation was required under established protocols.

          103.    Doing nothing in response to a tip regarding a potential threat to life is not an act

   embraced within the discretion granted to agents of the FBI.

          104.    The FBI admitted in its statement that established protocols “were not followed for

   the information received by the PAL on January 5. The information was not provided to the Miami

   Field Office, and no further investigation was conducted at that time.”




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            105.   In other words, the FBI admitted that it violated established protocols, which

   governed its conduct in responding to the information it received about Cruz.

            106.   Despite the FBI’s awareness of Cruz’s gun ownership, desire to kill people, erratic

   behavior, disturbing social media posts, and the potential of him conducting a school shooting, the

   bureau failed to follow established protocols that would have prevented the shooting from taking

   place.

            107.   The FBI’s failure to abide by established policies, procedures, protocols, and/or

   guidelines directly and proximately caused the horrific tragedy that cost ALYSSA ALHADEFF

   and so many others their lives.

            C.     The FBI’s Press Conference on the Parkland Shooting.

            108.   On February 22, 2018, Acting Deputy Director of the FBI, David Bowdich, held a

   press conference in which he acknowledged that “there was a mistake made.”

            109.   He further admitted that strong processes and protocols existed to deal with and

   respond to tips, “it’s just they were not followed.”

            D.     The FBI’s Congressional Testimony on the Parkland Shooting.

            110.   The FBI also admitted its negligent failures in sworn public testimony.

            111.   Acting Deputy Director Bowdich testified about the Parkland shooting in hearings

   before the Senate and House Judiciary Committees on March 14 and 20, 2018.

            112.   During his testimony, Bowdich, admitted that the FBI had received two separate

   tips alerting them to the dangers Nikolas Cruz posed and failed to respond to the tips properly.

            113.   Bowdich admitted that the FBI “clearly should have done more” in response to

   these alerts. He then summarized the current results of their investigation into what the FBI failed

   to do to prevent this massacre. The findings were the following:




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                 On September 25, 2017, the FBI received an e-mail alerting them that somebody

                  under the username “Nikolas Cruz” had posted a comment on YouTube that said

                  “I’m going to be a professional school shooter.”

                 In response to this tip, the FBI opened a “Guardian” lead and assigned it to their

                  Jackson Field Office in Mississippi. Representatives from that office visited and

                  interviewed the tipster. They then determined that the identity of the commenter

                  could not be determined and closed the investigation without any further follow-up

                  or alert to local law enforcement agencies.

                 On January 5, 2018, the FBI received a call-in tip from a woman who identified

                  herself as a close friend of the Cruz family.

                 This caller alerted the FBI to Cruz’s statements about harming himself and others;

                  his references to ISIS; previous threats he made against his mother with a rifle; that

                  he had purchased several weapons and said he wanted to kill people; that he was

                  mutilating small animals; and that he, at 18, had the mental capacity of a 12- to 14-

                  year old.

                 The caller told the FBI about the danger that Cruz would “shoot up a school.”

                 The FBI operator matched the information from this tip to the previous Guardian

                  lead regarding the YouTube post. She “consulted with her supervisor and the matter

                  was closed” without any further action. Information of this tip was never forwarded

                  along for any further review and local law enforcement was, again, not informed of

                  the tip.

          114.    Once they were notified of the shooting at Marjory Stoneman Douglas, the FBI

   connected the shooter to the previously obtained tips.



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          115.   Bowdich concluded his testimony by stating that the FBI is “committed…to doing

   whatever is necessary to correct our mistakes and prevent tragedies like this one from being

   repeated.”

                                       CAUSES OF ACTION

                                     COUNT I: NEGLIGENCE

          116.   Plaintiffs incorporate by reference the allegations contained in all preceding

   paragraphs.

          117.   Duty: The FBI owed a legal duty to the students and teachers of Marjory Stoneman

   Douglas High School in Parkland, Florida.

          118.   First, the FBI owed the students and teachers of Marjory Stoneman Douglas High

   School in Parkland, Florida, a duty to comply with mandatory investigative procedures governing

   how information on school shootings were to be handled. FBI personnel were subject to

   mandatory, non-discretionary investigative procedures that dictated how tips concerning potential

   school shootings had to be handled. The FBI had adopted those procedures as the standard of

   conduct for handling information concerning potential school shootings. The FBI knew or

   reasonably should have foreseen that the failure to properly follow those mandatory investigative

   procedures upon receiving credible information concerning Nikolas Cruz—including, among

   other things, his stated desire to commit a mass shooting at a school, his possession of high-

   powered weapons with which to carry out a school shooting, his disciplinary history as a student

   at Marjory Stoneman Douglas High School, and his propensity for violence—created a broad zone

   of risk that posed a general threat of harm to the students and staff at Marjory Stoneman Douglas

   High School, the foreseeable target of Nikolas Cruz.




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           119.   Second, the FBI undertook, through its public outreach efforts, to serve as the

   receiver, repository, and conduit of information regarding school shootings. In response to the

   FBI’s undertaking, the public relied on the FBI as the exclusive receiver, repository, and conduit

   of information concerning potential school shooting, even to the exclusion of other governmental

   entities that could have handled the information. As a result of that undertaking and foreseeable

   reliance, the FBI knew or reasonably should have foreseen that the failure to exercise reasonable

   care in handling and relaying credible information it received concerning a potential school

   shooting created a broad zone of risk that such information would never be disseminated to an

   appropriate governmental body and that such information would never be investigated and acted

   upon.

           120.   In this case, the FBI undertook the task of handling and relaying the information it

   received from the January 5 tipster in a reasonable manner. In light of the way the FBI held itself

   out to the public, its undertaking, and the context and content of the January 5 tipster’s call to the

   FBI in this case, the FBI knew or reasonably should have foreseen that:

              a. The tipster was justifiably relying on the FBI as the exclusive forum for reporting

                  school shootings because, in response to the tipster’s expressed ambivalence about

                  whether the FBI was the proper forum for reporting information about Nikolas

                  Cruz, the FBI reassured the tipster, both implicitly and expressly, that the FBI was

                  the proper forum for reporting such information, that the FBI would investigate the

                  matter, and that the FBI would follow-up with the tipster; and

              b. Given the tipster’s reliance on the FBI and its assurances, failure to exercise

                  reasonable care in the handling and relaying of the information concerning a

                  potential school shooting by Nikolas Cruz created a broad zone of risk that such




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                  information would never be disseminated to an appropriate governmental body and

                  that the tip would never be investigated and acted upon; and

              c. Such failure posed a general threat of harm to the students and staff at Marjory

                  Stoneman Douglas High School—the foreseeable target of Nikolas Cruz and the

                  intended beneficiaries of the tip, to whom the FBI ultimately owed a duty to

                  perform its undertaking in a reasonable manner.

          121.    Third, the FBI owed the students and teachers of Marjory Stoneman Douglas High

   School in Parkland, Florida, a special duty to intervene because:

              a. The FBI instructed tipsters to communicate information regarding potential school

                  shootings, thereby willingly injecting itself into matters involving potential school

                  shootings;

              b. The FBI directly involved itself in handling the tip concerning Nikolas Cruz by

                  fielding the January 5 tipster’s call and assuring the ambivalent tipster, both

                  implicitly and expressly, that the FBI would investigate the matter and that calling

                  the FBI was the appropriate course of action, to the exclusion of notifying other law

                  enforcement authorities;

              c. The FBI knew or reasonably could have foreseen that an identifiable group of

                  individuals—here, students and teachers of Marjory Stoneman Douglas High

                  School in Parkland, Florida—were the expected targets of Nikolas Cruz’s violence

                  or anticipated shootings; and

              d. Despite knowing or reasonably foreseeing the risk to the students and teachers of

                  Marjory Stoneman Douglas High School in Parkland, Florida, the FBI permitted




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                  the danger to exist by failing to act entirely, in violation of mandatory, established

                  protocols.

          122.    Breach: The FBI failed to exercise reasonable care (a) in complying with

   mandatory investigative procedures that the bureau had adopted as the standard of conduct for

   handling information concerning potential school shootings; (b) in complying with non-

   discretionary duties not to falsely assure people possessing credible information and evidence

   about anticipated school shootings that their tips and information would be taken seriously and

   investigated, and not to dissuade people with such information from contacting other law

   enforcement agencies (c) in performing the task it undertook—serving as the receiver, repository,

   and conduit of information regarding school shootings—and upon which the public—and,

   specifically, the January 5 tipster—relied to their detriment; and (d) in the way it handled the

   information received concerning Nikolas Cruz and Marjory Stoneman Douglas High School, an

   entity that was foreseeably at risk of being attacked by Nikolas Cruz. Specifically, the FBI failed

   to exercise reasonable care in the following ways, among others:

              a. Doing nothing whatsoever with the information that it received concerning Nikolas

                  Cruz;

              b. Failing to investigate and follow-up on the credible information it received from

                  the public, including the January 5 tipster;

              c. Failing to follow non-discretionary, established protocols that required the FBI to

                  forward the information it had received concerning Nikolas Cruz to its Miami Field

                  Office, which would have had a non-discretionary obligation to take investigative

                  steps;




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               d. Failing to intervene, including in any of a number of ways that the FBI has

                   previously identified as effective intervention methods for potential school

                   shootings; and

               e. At the very least, failing to relay the information received from the January 5 tipster

                   to another governmental body that could have handled the investigation.

           123.    Causation: As a direct and proximate cause of the FBI’s negligence, ALYSSA

   ALHADEFF was murdered by Nikolas Cruz. But for the FBI’s negligence, Nikolas Cruz would

   not have murdered ALYSSA ALHADEFF. The FBI’s failure to investigate the tips and

   information it had received, failing to forward the information concerning Nikolas Cruz to

   appropriate governmental bodies, and failing to follow its mandatory, established protocols, was a

   direct and substantial cause of the Plaintiffs’ loss.

           124.    Damages: As a direct and proximate cause of the FBI’s negligence, ILAN

   ALHADEFF and LORI ALHADEFF, the Estate of ALYSSA ALHADEFF, and all survivors and

   next of kin have been damaged. Therefore, pursuant to Fla. Stat. § 768.21 or other applicable

   wrongful-death law, they are entitled to recover all available damages, including:

               a. The pain and suffering of ALYSSA ALHADEFF’s survivors, beneficiaries, and

                   heirs;

               b. Lost society, companionship, guidance, and services of ALYSSA ALHADEFF to

                   her survivors, beneficiaries, and heirs;

               c. Loss of support in money and in kind;

               d. Loss of net accumulations;

               e. Lost value of life;

               f. Funeral expenses; and/or




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              g. Any and all other damages to which the survivors, the beneficiaries, and/or the

                  Estate of ALYSSA ALHADEFF may be entitled to recover under applicable law.

          WHEREFORE, the Plaintiffs, ILAN ALHADEFF and LORI ALHADEFF, as Co-Personal

   Representatives of the Estate of ALYSSA ALHADEFF, deceased, demand judgment against the

   United States for compensatory damages, costs, and such other relief this Court deems appropriate.

   Dated: February 13, 2020.



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